 Case 20-62128-pmb      Doc 73   Filed 08/13/20 Entered 08/13/20 10:58:54          Desc Main
                                 Document     Page 1 of 6




    IT IS ORDERED as set forth below:



    Date: August 13, 2020
                                                   ________________________________
                                                               Paul Baisier
                                                       U.S. Bankruptcy Court Judge

   _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                              :           CHAPTER 11
                                    :
BLVCK BVLLED INVESTMENTS, LLC,      :           CASE NO 20-62128-PMB
          Debtor.                   :
---------------------------------- --           --------------------------------
SELECT PORTFOLIO SERVICING, INC.    :
AS SERVICER FOR U.S. BANK NATIONAL :
ASSOCIATION AS TRUSTEE FOR ANGEL :
OAK MORTGAGE TRUST I, LLC, 2018-2,  :
MORTGAGE-BACKED CERTIFICATES,       :
SERIES 2018-2,                      :
                                    :
          Movant,                   :           CONTESTED MATTER
v.                                  :
                                    :
BLVCK BVLLED INVESTMENTS, LLC,      :
UNITED STATES TRUSTEE, Trustee,     :
           Respondents.             :
                                    :

                      AGREED ORDER ON MOTION FOR RELIEF
     U.S. Bank National Association as Trustee for Angel Oak Mortgage Trust I, LLC, 2018-2,



                                                                                BKAO001.N001
Case 20-62128-pmb       Doc 73    Filed 08/13/20 Entered 08/13/20 10:58:54            Desc Main
                                  Document     Page 2 of 6

   Mortgage-Backed Certificates, Series 2018-2, for itself, its successors and assigns filed an

   Amended Motion for Relief from Automatic Stay (the “Motion”) June 4, 2020 (dkt. no. 53),

   which was set for hearing on July 13, 2020 (the “Hearing”). Present at the Hearing was Anjali

   Khosla for U.S. Bank National Association as Trustee for Angel Oak Mortgage Trust I, LLC,

   2018-2, Mortgage-Backed Certificates, Series 2018-2, (“Secured Creditor”) and Will Geer for

   BLVCK BVLLED INVESTMENTS, LLC (“Debtor”). At the hearing, Counsel for Secured

   Creditor provided the terms of this agreed order to allow for any creditor objections. No other

   creditors announced any objection to the agreed order terms listed below. The parties now enter

   into the below stipulation to agree to plan treatment of the real property commonly known as

   3413 Plantation Dr, Albany, GA 31721 (the “Property”).

                                            RECITALS

A. On or about 4/13/2018, Debtor, for valuable consideration, made, executed and delivered a Note

   secured by a Deed to Secure Debt both in the amount of $90,400 on the Property.

B. On 2/3/2020, Debtor filed a voluntary petition under Chapter 11 of the Bankruptcy Code in the

   United States Bankruptcy Court, Northern District of Georgia.

C. The parties have conferred and agreed upon treatment of Secured Creditor’s first lien secured by

   the Property for purposes of Debtor's Chapter 11 Plan and those terms are reflected below.

                  THE PARTIES STIPULATE TO THE FOLLOWING:

1. Secured Creditor holds a fully secured first lien on the Property.

2. Beginning 9/01/2020, Debtor agrees to make contractual payments to Secured Creditor,

   including the escrow payment, currently in the amount of $796.16 (principal and interest

   $513.28 + escrow $282.88). These payments will be applied contractually to the loan as they

   are received. Debtor is aware this payment may fluctuate and are responsible for confirming

   that payment with Secured Creditor as needed.

                                                                                    BKAO001.N001
Case 20-62128-pmb           Doc 73    Filed 08/13/20 Entered 08/13/20 10:58:54          Desc Main
                                      Document     Page 3 of 6

3. The approximate contractual loan arrears as of 08/30/2020 totaling $15,610.13 (consisting of

       monthly payments from 11/01/2018 through 8/1/2020) will be deferred as a non-interest-

       bearing principal due as a balloon payment on the maturity date 5/1/2048. The breakdown of

       the arrearage is as follows:

       Number of          From           To        Monthly Payment Amount   Total of Monthly Payments
     Missed Payments                                                                  Missed
Mi

            6           11/01/2018    04/01/2019          $722.06                  $4,332.36




Mi

           11           05/01/2019    03/01/2020          $721.34                  $7,934.74




            5           04/01/2020    08/01/2020          $796.16                  $3,980.80




         Less post-petition partial payments (suspense balance): $-637.67




4. Payments shall be made directly to Secured Creditor, Select Portfolio Servicing, Inc., at Select

       Portfolio Servicing, Inc., Attn: Remittance Processing, P.O. Box 65450, Salt Lake City, UT

       84165-0450, with reference to the last four digits of the Loan Number 3788, or as otherwise

       directed.

5. Secured Creditor will continue to impound this loan for taxes and insurance related to the

       Property and charge a monthly escrow payment in addition to Debtor’s monthly principal and




                                                                                     BKAO001.N001
Case 20-62128-pmb         Doc 73    Filed 08/13/20 Entered 08/13/20 10:58:54            Desc Main
                                    Document     Page 4 of 6

     interest payment. Debtor is obligated to make the monthly escrow payment in addition to

     principal and interest payments. Debtor understands that these amounts may fluctuate.

  6. All escrow advances will remain due and owing on the loan and will be repaid through the

     escrow account on this loan.

 7. All other terms of the Deed to Secure Debt and Note not directly altered by this agreement will

     remain in full force and effect.

 8. Secured Creditor has relief from the automatic stay as to the Subject Property upon

     confirmation of Debtor's Chapter 11 Plan.

 9. Debtor agrees to incorporate the above agreed terms of lien treatment into any and all existing

     and future proposed Chapter 11 Plans. In the event that Debtor's Chapter 11 Plan does not

     reflect the language of this stipulation, Debtor will be considered in default of this Order and

     Secured Creditor may proceed pursuant to the procedures below.

 10. Secured Creditor agrees to vote for Debtor's Chapter 11 Plan provided it reflects the agreed plan

     treatment contained in this stipulation, or the terms of the stipulation are incorporated into the

     confirmation order through exact language, attachment of a copy of the stipulation, or by

     reference of the filed stipulation with docket number.

  It is hereby ORDERED:

I.   In the event of a default on payments to Secured Creditor or in Debtor’s plan proposal under the

     terms of this stipulation prior to the entry of the confirmation order, Secured Creditor shall

     notify Debtor and Debtor’s counsel of the default in writing. Debtor shall have ten (10)

     calendar days from the date of the written notification to cure the default, and Debtor agrees to

     pay an additional $100.00 for attorneys’ fees for each occurrence. If Debtor fails to cure the

     default, Secured Creditor may file a motion and affidavit of default, with service upon

     Debtor(s), attorney for Debtor(s) and the Trustee and include that the 14-day stay as provided in

                                                                                     BKAO001.N001
  Case 20-62128-pmb          Doc 73   Filed 08/13/20 Entered 08/13/20 10:58:54          Desc Main
                                      Document     Page 5 of 6

       FRBP 4001(a)(3) is waived. Upon entry of the order the automatic stay shall be terminated and

       extinguished for purposes of allowing Secured Creditor to notice, proceed with, and hold a

       foreclosure sale of the Property, pursuant to applicable state law and without further Court

       Order or proceeding being necessary, including any action necessary to obtain complete

       possession of the Property.

 II.   In the event of a default on payments to Secured Creditor under the terms of this stipulation

       after the entry of the confirmation order, Secured Creditor may proceed pursuant to the terms of

       the underlying Note and Deed to Secure Debt, and state and federal law, to obtain complete

       possession of the Property without further Court Order or proceeding being necessary.

III.   If this Chapter 11 bankruptcy is dismissed or converted to another chapter under title 11,

       Secured Creditor’s lien shall remain a valid secured lien for the full amount due under the

       original Promissory Note and all payments received under this agreement will be applied

       contractually under the original terms of the Deed to Secure Debt and original Promissory Note.

                                      [END OF DOCUMENT]

Prepared and Submitted by:                             Consented to by:

/s/ Lisa F. Caplan                                     /s/ Will B. Geer
Lisa F. Caplan                                         Will B. Geer, Esq.
GA State Bar No. 001304                                GA State Bar No. 940493
Rubin Lublin, LLC                                      Suite 1150
3145 Avalon Ridge Place, Suite 100                     50 Hurt Plaza SE
Peachtree Corners, GA 30071                            Atlanta, GA 30303
(877) 813-0992                                         (678) 587-8740
lcaplan@rubinlublin.com                                wgeer@wiggamgeer.com
Attorney for Creditor                                  Attorney for Debtor




                                                                                      BKAO001.N001
  Case 20-62128-pmb          Doc 73   Filed 08/13/20 Entered 08/13/20 10:58:54   Desc Main
                                      Document     Page 6 of 6

                                        DISTRIBUTION LIST


Michael Cobb
3711 Ramsey Circle, SW
Atlanta, GA 30331

Blvck Bvlled Investments, LLC
3711 Ramsey Circle, SW
Atlanta, GA 30331

Will B. Geer, Esq.
Suite 1150
50 Hurt Plaza SE
Atlanta, GA 30303

United States Trustee, Trustee
Office of the US Trustee
75 Ted Turner Drive, SW, Suite 362
Atlanta, GA 30303

BSI Financial Services
P.O. Box 517
Titusville, PA 16354

Georgia Department of Revenue
Bankruptcy Section
P.O. Box 161108
Atlanta, GA 30321-0000

Internal Revenue Service
CIO
P.O. Box 7346
Philadelphia, PA 19101-7346

Select Portfolio Servicing, Inc.
P.O. Box 65250
Salt Lake City, UT 84165

Select Portfolio Servicing, Inc.
PO Box 65450
Salt Lake City, UT 84165-0000

Lisa F. Caplan, Esq.
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071


                                                                             BKAO001.N001
